                                                                         Case 4:09-cv-03798-SBA Document 583 Filed 11/20/12 Page 1 of 19




                                                                  1
                                                                  2
                                                                  3
                                                                  4
                                                                  5
                                                                  6
                                                                  7
                                                                                             IN THE UNITED STATES DISTRICT COURT
                                                                  8
                                                                                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                  9
                                                                 10
                                                                 11
                               Northern District of California




                                                                 12   ESTHER DARLING, et al.,                         Case No.: C-09-03798 SBA (JSC)
United States District Court




                                                                 13                                                   REPORT AND
                                                                                     Plaintiffs,                      RECOMMENDATION RE
                                                                 14                                                   PLAINTIFFS’ MOTION FOR
                                                                             v.                                       ENFORCEMENT OF STIPULATED
                                                                 15                                                   JUDGMENT AND FOR
                                                                                                                      APPOINTMENT OF SPECIAL
                                                                 16   TOBY DOUGLAS, Director of the                   MASTER
                                                                      Department of Health Care Services,
                                                                 17   State of California, DEPARTMENT OF
                                                                      HEALTH CARE SERVICES,
                                                                 18
                                                                 19                  Defendants.
                                                                 20
                                                                 21          Presently before the Court is a Motion for Enforcement of Stipulated Judgment and for
                                                                 22   Appointment of Special Master (―Motion‖) brought by Plaintiffs Esther Darling, Ronald Bell by his
                                                                 23   Guardian ad Litem, Rozene Dilworth, Gilda Garcia, Wendy Helfrich by her Guardian ad Litem,
                                                                 24   Dennis Arnett, Jessie Jones, Raif Nasyrov by his Guardian ad Litem, Sofiya Nasyrova, and Allie Jo
                                                                 25   Woodard by her Guardian ad Litem, Linda Gaspard-Berry (collectively, ―Plaintiffs‖) against
                                                                 26   Defendants Toby Douglas and the Department of Health Care Services (―DHCS‖) (collectively,
                                                                 27
                                                                 28
                                                                         Case 4:09-cv-03798-SBA Document 583 Filed 11/20/12 Page 2 of 19




                                                                  1   ―Defendants‖).1 (Dkt. No. 522.) After carefully considering the pleadings submitted by the parties,
                                                                  2   including the parties‘ supplemental submissions (Dkt. Nos. 579-582), and with the benefit of oral
                                                                  3   argument on November 8, 2012, the Court RECOMMENDS that the Motion be DENIED.
                                                                  4                                              BACKGROUND
                                                                  5          On August 18, 2009, Plaintiffs, who are elderly persons and adults with disabilities, brought
                                                                  6   a class action suit against Defendants to enjoin changes being made to Adult Day Health Care
                                                                  7   (―ADHC‖), asserting that the changes to the program, as enacted by the California Legislature,
                                                                  8   would place them at risk of unnecessary institutionalization. (Dkt. No. 438, Ex. A.) Plaintiffs also
                                                                  9   alleged that their due process rights were violated and that restrictive new eligibility criteria violated
                                                                 10   Medicaid requirements. Id. Ultimately, the parties settled the case, with the Court entering a
                                                                 11   Stipulated Judgment on January 25, 2012. (Dkt. No. 444.) The Court retained jurisdiction over the
                                                                 12   action until 30 months after the Effective Date of settlement. Id.
                               Northern District of California
United States District Court




                                                                 13          At issue in the parties‘ current dispute are two portions of their Settlement Agreement
                                                                 14   (―Agreement‖). First, the Agreement sets forth the procedures and requirements for the elimination
                                                                 15   of ADHC and the implementation of a new Medi-Cal benefit program called Community Based
                                                                 16   Adult Services (―CBAS‖).2 Forty thousand Class Members potentially could be eligible for CBAS.
                                                                 17   (Dkt. No. 532, 1.) A defining feature of CBAS is that the program is administered through ―managed
                                                                 18   care plans,‖ rather than the previous ―fee-for-service‖ model used under ADHC. Managed care
                                                                 19   provides Medi-Cal services through contracts between DHCS and managed care organizations or
                                                                 20   health plans; fee-for-service is a payment model for Medi-Cal benefits where health care providers
                                                                 21   receive a fee from DHCS for each service provided to a beneficiary. (Dkt. No. 438, Ex. A, Sec.
                                                                 22   VI.13 & 15.) The Agreement provides that ―[n]o sooner than July 1, 2012, for all CBAS-eligible
                                                                 23   Class Members who reside in counties where Medi-Cal managed care is available and are eligible
                                                                 24   for Medi-Cal managed care enrollment, CBAS will be available only as a Medi-Cal managed care
                                                                 25
                                                                             1
                                                                                The presiding judge in this matter, the Honorable Sandra Brown Armstrong, referred all
                                                                 26   motions filed pertaining to the parties‘ settlement to the undersigned for preparation of a report and
                                                                      recommendation. (Dkt. No. 460.)
                                                                 27           2
                                                                                CBAS ―refers to an outpatient, facility based service program that delivers skilled nursing
                                                                 28   care, social services, therapies, personal care, family/caregiver training and support, meals and
                                                                      transportation to eligible Medi-Cal beneficiaries.‖ (Dkt. No. 438, Ex. A, Sec. VI.6.)

                                                                                                                           2
                                                                         Case 4:09-cv-03798-SBA Document 583 Filed 11/20/12 Page 3 of 19




                                                                  1   benefit.‖ (Id. at Sec. XII.D.3.) The Agreement further states that Defendants shall ―passively enroll‖
                                                                  2   all CBAS-eligible Class Members receiving CBAS services under the fee-for-service model into the
                                                                  3   new managed care plans no sooner than 30 days prior to the date CBAS replaces ADHC. (Id. at Sec.
                                                                  4   XII.F.2.a.) Those Class Members would receive notice of this passive enrollment and be given an
                                                                  5   opportunity to opt-out of the new managed care plan. (Id. at Sec. XII.F.2.b.) If a Class Member
                                                                  6   opted-out, however, that Class Member would lose access to CBAS services. (Id. at Sec. XII.F.2.c.i.)
                                                                  7   The Agreement notes that ―[e]nrollment into [managed care] shall not impede Class Members‘
                                                                  8   access to Medicare providers and services.‖ (Id. at Sec. XII.F.2.k.)
                                                                  9          The second area of dispute is the assessment process for CBAS eligibility. In addition to
                                                                 10   setting out the criteria for CBAS eligibility, the Agreement describes the process by which Class
                                                                 11   Members will be deemed eligible or ineligible for CBAS. To begin, the Agreement contemplates
                                                                 12   three categories in which Class Members will be assigned based on an initial DHCS review:
                               Northern District of California
United States District Court




                                                                 13   categorically eligible for CBAS; presumptively eligible for CBAS; and non-presumptively eligible
                                                                 14   for CBAS. (Id. at Sec. XI.A & B.) Categorically eligible Class Members would transition from
                                                                 15   ADHC to CBAS automatically.3 (Id. at Sec. XI.B.1.)
                                                                 16          For the remaining Class Members, the Agreement requires a more involved process. First,
                                                                 17   ADHC centers, using a ―screening tool,‖ conduct their own in-house determination of whether Class
                                                                 18   Members meet the CBAS eligibility criteria contained in the Agreement, and send their
                                                                 19   recommendations to DHCS. (Id. at Sec. XI.A.2.a.) Second, the Agreement requires a ―face-to-face‖
                                                                 20   assessment for all Class Members who ADHC centers recommend as CBAS eligible, or as needing a
                                                                 21   face-to-face assessment in order to determine initial eligibility.4 (Id. at Sec. XI.A.3.b.) The parties
                                                                 22   are required to agree upon a tool and protocol for conducting these face-to-face assessments. (Id. at
                                                                 23   Sec. XI.A.3.c.) Next, the Agreement requires ―second-level reviews‖ of eligibility determinations
                                                                 24   ―[i]n all cases in which the outcome of the face-to-face assessment is that a Class Member is not
                                                                 25
                                                                             3
                                                                                 Presumptively eligible class members would transition to CBAS and remain there ―at least
                                                                 26   until a face-to-face assessment by DHCS.‖ (Id. at Sec. XI.B.2.a.)
                                                                               4
                                                                 27              Face-to-face assessments are also required upon request by the Class Member if the
                                                                      ADHC center does not recommend him or her as CBAS eligible, and when the ADHC center does
                                                                 28   not complete a CBAS screening tool and the individual has not been determined to be categorically
                                                                      or presumptively eligible. (Id. at Sec. XI.A.3.b.)

                                                                                                                           3
                                                                           Case 4:09-cv-03798-SBA Document 583 Filed 11/20/12 Page 4 of 19




                                                                  1   eligible for CBAS.‖5 (Id. at Sec. XI.A.4.a.) Finally, Class members who receive a final
                                                                  2   determination of ineligibility can appeal the decision and receive an administrative hearing. (Id. at
                                                                  3   Sec. XIV.B.1.)
                                                                  4           Plaintiffs allege that Defendants have violated the Agreement on the following four grounds:
                                                                  5   1) Defendants have failed to take necessary steps to prevent managed care opt-outs; 2) some Class
                                                                  6   Members have had long-delayed hearing decisions; 3) Defendants have subjected Class Members to
                                                                  7   illegal Quality Assurance reviews in determining CBAS eligibility; and 4) Defendants have not
                                                                  8   acted to support access to CBAS and prevent loss of CBAS services due to center closures.6 (Dkt.
                                                                  9   Nos. 522 & 555.) Plaintiffs also seek specific relief for each of the above alleged violations, as well
                                                                 10   as an appointment of a Special Master to assist the parties in reaching resolution of the ongoing
                                                                 11   disputes. (Id.)
                                                                 12                                                 ANALYSIS
                               Northern District of California
United States District Court




                                                                 13   A.      Legal Standard
                                                                 14           ―A consent decree, which has attributes of a contract and a judicial act, is construed with
                                                                 15   reference to ordinary contract principles.‖ City of Las Vegas v. Clark County, 755 F.2d 697, 702 (9th
                                                                 16   Cir. 1985); see also United States v. Asarco Inc., 430 F.3d 972, 980 (9th Cir. 2005) ( ―[C]ourts treat
                                                                 17   consent decrees as contracts for enforcement purposes.‖). ―A consent decree, like a contract, must be
                                                                 18   discerned within its four corners, extrinsic evidence being relevant only to resolve ambiguity in the
                                                                 19   decree.‖ Asarco, 430 F.3d at 980; see also United States v. Armour & Co., 402 U.S. 673, 681 (1971)
                                                                 20   (―[T]he scope of a consent decree must be discerned within its four corners, and not by reference to
                                                                 21   what might satisfy the purposes of one of the parties to it.‖). Therefore, the consent decree is
                                                                 22   construed as it is written, ―not as it might have been written had the plaintiff established his factual
                                                                 23   claims and legal theories in litigation.‖ Armour, 402 U.S. at 681.
                                                                 24
                                                                              5
                                                                 25              However, if the Class Member was identified by the ADHC center as not meeting CBAS
                                                                      eligibility criteria, a second-level review is required only upon the request of the Class Member or
                                                                 26   the Class Member‘s family. (Id. at Sec. XI.A.4.a.)
                                                                 27
                                                                               6
                                                                                 Plaintiffs‘ Motion also includes two additional issues—the parties‘ failure to reach an
                                                                      agreement on a post-transition assessment tool, and Defendants‘ alleged failure to provide adequate
                                                                 28   notices to Class Members—that Plaintiffs have informed the Court are ―deferred‖ and thus should
                                                                      not be considered at this time. (Dkt. No. 529.)

                                                                                                                           4
                                                                           Case 4:09-cv-03798-SBA Document 583 Filed 11/20/12 Page 5 of 19




                                                                  1
                                                                      B.      Whether Defendants’ Alleged Failure to Respond to the Opt-Out Issue Violates
                                                                  2           the Agreement

                                                                  3           Plaintiffs contend that Defendants have not adequately responded to the high number of
                                                                  4   Class Members who have opted-out of managed care plans. This issue has arisen because, as noted
                                                                  5   above, the Agreement requires Class Members to forgo fee-for-service Medi-Cal in favor of
                                                                  6   managed care in order to receive CBAS. This is a change for Class Members who are dually eligible
                                                                  7   for Medi-Cal and Medicare. (Dkt. No. 522, 7.) In the past, these so-called ―dual eligibles‖ have
                                                                  8   generally been exempted from requirements to enroll in managed care plans, which may require
                                                                  9   members to seek treatment from Medi-Cal providers within the plan‘s network, as opposed to the
                                                                 10   fee-for-service‘s network. (Id.) But now, with the conversion to managed care looming, up to 5,000
                                                                 11   Class Members have exercised their right to opt-out and remain in fee-for-service Medi-Cal, with
                                                                 12   some number of these Class Members doing so out of a fear of losing their Medicare doctor. (Id.)
                               Northern District of California
United States District Court




                                                                 13   This fear exists despite reassurances from Defendants that managed care participants can keep their
                                                                 14   Medicare doctor. Plaintiffs blame this ―mass confusion and concern‖ on misleading information
                                                                 15   from a variety of sources. 7 (Dkt. No. 522, 7.) Plaintiffs acknowledge Defendants‘ attempts to
                                                                 16   remedy the opt-out problem, but contend the efforts are ―too little, too late.‖ (Id.) Specifically,
                                                                 17   Plaintiffs assert that Defendants should have begun to properly educate providers and beneficiaries
                                                                 18   in June 2012, rather than in August 2012. (Dkt. No. 555, 5.) They argue that Defendants‘ inadequate
                                                                 19   response violates the Agreement, ―which requires that Defendants monitor and address barriers to
                                                                 20   access to CBAS, enable managed care plans to be responsible for provisions of CBAS, and which
                                                                 21
                                                                 22
                                                                 23           7
                                                                                 Much of this confusion seems to be coming from discussions Class Members are having
                                                                      with their doctors or Medicare providers. As explained by the parties at the hearing on this Motion,
                                                                 24
                                                                      while some doctors and providers may be misinformed and advising Class Members that they
                                                                 25   cannot accept managed care coverage, other doctors and providers may be aware they can accept
                                                                      such coverage and are simply refusing to accept Class Members as a matter of choice. Generally, a
                                                                 26   dual eligible‘s medical bill is divided between Medicare and Medi-Cal. Under the fee-for-service
                                                                      model, the state would pay the Medi-Cal portion; but under managed care, the managed care plans
                                                                 27
                                                                      now pay that cost. Some doctors and providers, for reasons unknown to the Court, may not want to
                                                                 28   rely on payments from managed care plans and are thus advising patients that they will be dropped
                                                                      if they transition to managed care.

                                                                                                                           5
                                                                         Case 4:09-cv-03798-SBA Document 583 Filed 11/20/12 Page 6 of 19




                                                                  1   prohibits impediments to ‗access to Medicare providers or services‘ due to enrollment in Medi-Cal
                                                                  2   managed care.‖ (Dkt. No.555, 2.)
                                                                  3          Plaintiffs ask the Court to resolve the issue by ordering Defendants to allow those Class
                                                                  4   Members who have opted-out of managed care to remain in fee-for-service CBAS until the
                                                                  5   implementation of a larger program administered by the state to transfer Medi-Cal recipients from
                                                                  6   fee-for-service to managed care.8 (Dkt. No. 555, 6.) Alternatively, Plaintiffs suggest that opt-out
                                                                  7   Class Members be reinstated to CBAS ―until such time as Defendants have completed an effective
                                                                  8   transition process that meets specified bench marks.‖ (Id. at 7.) Finally, Plaintiffs note that opt-out
                                                                  9   Class Members could be given Medical Exemption Requests, which ensures continuity of care and is
                                                                 10   contemplated by the Agreement. (Id.)
                                                                 11          In order for the Court to grant Plaintiffs‘ requested relief, Plaintiffs must first establish that
                                                                 12   Defendants‘ actions or inactions related to the opt-out issue violate a specific provision of the
                               Northern District of California
United States District Court




                                                                 13   Agreement. Plaintiffs have failed to make such a showing. They cite to three provisions in the
                                                                 14   Agreement—Sections XII.F.1, XII.F.2.k, and XII.B.5—that they believe Defendants have violated.
                                                                 15   The first, Section XII.F.1 provides, ―Managed Care Coverage of CBAS: Medi-Cal managed care
                                                                 16   plans shall be responsible for the provision of CBAS services to CBAS-eligible Class Members
                                                                 17   subject to the limitations set forth in Section XII.D. of this Agreement.‖ (Dkt. No. 438, Ex. A.) The
                                                                 18   Court does not see how this provision is even relevant to the opt-out dispute; there is no dispute over
                                                                 19   whether Medi-Cal managed care plans are providing CBAS services to CBAS-eligible Class
                                                                 20   Members who choose not to opt-out of the program.9
                                                                 21          The second, Section XII.F.2.k states,
                                                                 22          Enrollment into Medi-Cal managed care plans and care management activities
                                                                             conducted by the plans shall not impede Class Members‘ access to Medicare providers
                                                                 23
                                                                             or services. Class Members accessing Medicare services through another plan or through
                                                                 24          Fee-for-Service Medicare maintain the right to see any Medicare provider that will
                                                                             accept them as a patient and to choose their own primary care physician.
                                                                 25
                                                                 26          8
                                                                                This larger program administered by Defendants is called Coordinated Care Initiative
                                                                      (―CCI‖) and is slated to begin in June 2013, transitioning some 560,000 Californians into managed
                                                                 27
                                                                      care. (Dkt. No. 555, 3, 6.)
                                                                              9
                                                                 28             The limitations in Section XII.D relate to the details of the CBAS transition from fee-for-
                                                                      service to managed care and do not concern the opt-out issue.

                                                                                                                           6
                                                                         Case 4:09-cv-03798-SBA Document 583 Filed 11/20/12 Page 7 of 19




                                                                  1   (Id.) Plaintiffs appear to argue that enrollment into the managed care plans is impeding Class
                                                                  2   Members‘ access to Medicare providers or services because some Class Members‘ physicians are
                                                                  3   telling their patients that they will drop them if they do not opt-out. Defendants, however, do not
                                                                  4   violate the Agreement if some physicians choose not to accept Class Members as patients or to
                                                                  5   terminate their relationship with Class Members. The Agreement contemplates as much by
                                                                  6   providing that Class Members ―maintain the right to see any Medicare provider that will accept them
                                                                  7   as a patient.‖ (Id. (emphasis added).) The Agreement does not guarantee that Class Members are
                                                                  8   able to keep their preferred provider. That some Medicare providers may discriminate based on
                                                                  9   whether a patient is in a managed care Medi-Cal plan or a fee-for-service Medi-Cal plan, or that
                                                                 10   some Class Members mistakenly believe that they will, is outside the scope of this provision of the
                                                                 11   Agreement. It is not disputed that Class Members ―maintain the right to see any Medicare provider
                                                                 12   that will accept them as a patient and to choose their own primary care physician,‖ in compliance
                               Northern District of California
United States District Court




                                                                 13   with the Agreement.
                                                                 14          Finally, the Court is also not persuaded that Defendants‘ actions have violated Section XII.B.
                                                                 15   Section XII.B addresses access and capacity, in relevant part, as follows:
                                                                 16          The Department shall take all necessary and timely steps to ensure adequate provider
                                                                 17          capacity including:
                                                                             ...
                                                                 18
                                                                             4.      Using due diligence to: provide for sufficient CBAS capacity in geographic
                                                                 19
                                                                                     areas where ADHC services exist at the time of the execution of this Settlement
                                                                 20                  Agreement, including an adequate number of providers so that Class Members
                                                                                     can transition seamlessly from ADHC to CBAS without interruption in services
                                                                 21                  due to waitlists; language and cultural competence to meet the needs of the
                                                                 22                  CBAS eligible population; and program specialization to meet the specific
                                                                                     health needs of the CBAS eligible population. In the event that there is no
                                                                 23                  sufficient CBAS provider capacity, Class Members shall receive unbundled
                                                                                     CBAS component services based on assessed need.
                                                                 24
                                                                 25          5.      The Department shall monitor CBAS provider capacity to ensure sufficient
                                                                                     access in geographic areas where ADHC is provided at the time of execution of
                                                                 26                  this Agreement and use diligence to address access issues. This shall include
                                                                                     consulting with CBAS providers and Plaintiffs‘ counsel regarding access
                                                                 27                  barriers and possible solutions.
                                                                 28


                                                                                                                         7
                                                                         Case 4:09-cv-03798-SBA Document 583 Filed 11/20/12 Page 8 of 19




                                                                  1   (Id. at Sec. XII.B.) Plaintiffs assert, through declarations from administrators or other employees at
                                                                  2   CBAS provider centers in Los Angeles, that the financial strain put upon CBAS centers from some
                                                                  3   Class Members‘ decisions to opt-out will inevitably lead to center closures and a resulting lack of
                                                                  4   CBAS capacity. (Dkt. No. 500, Eychis Decl., ¶ 15; Dkt. No. 509, Liberman Decl., ¶ 4; Dkt. No. 520,
                                                                  5   Toth Decl. ¶ 44.)
                                                                  6          Even if these centers‘ financial situation is as dire as they claim, however, the record is
                                                                  7   insufficient to support a finding that Defendants have breached this section. First, according to
                                                                  8   Defendants, statewide CBAS capacity is only at 65%. (Dkt. No. 532, 8.) In other words, the Court
                                                                  9   cannot find insufficient CBAS access or even that insufficient CBAS access is imminent. On this
                                                                 10   record such insufficiency is only speculative.
                                                                 11          Second, the Agreement requires Defendants to ―use due diligence‖ and to ―monitor CBAS
                                                                 12   provider capacity to ensure sufficient access.‖ The record does not support a finding that Defendants
                               Northern District of California
United States District Court




                                                                 13   have failed to do either. It is undisputed that Defendants voluntarily pushed back the transition to
                                                                 14   managed care by three months—from July 1, 2012 to October 1, 2012—to address questions about
                                                                 15   what managed care would entail. (Dkt. No. 532, 1, 4.) In mid-August 2012, Defendants began to
                                                                 16   receive data of an atypically high number of opt-outs (approximately 5,000). (Id. at 4.) Defendants
                                                                 17   again attempted to resolve the problem by delaying the transition an additional month, to November
                                                                 18   1, 2012, to ―further educate providers, participants, and managed care plans about the opt-outs, why
                                                                 19   it was occurring, and to confirm whether the choice to opt-out was in fact a deliberate and informed
                                                                 20   one.‖ (Id.) Defendants have specifically identified that some physicians are inaccurately informing
                                                                 21   some Class Members that they will be unable to accept them as patients if they transition to managed
                                                                 22   care. (Id. at 5.) To ensure that all the relevant stakeholders have accurate information, Defendants
                                                                 23   have undertaken the following measures: contact with individual physicians and medical centers;
                                                                 24   contact with California Medical Association; communications with CBAS centers; visits to CBAS
                                                                 25   centers; communications with managed care organizations; communications with CBAS provider
                                                                 26   organizations; meeting with the Health Insurance Counseling & Advocacy Program. (Id.)
                                                                 27   Additionally, starting on October 19, 2012, Defendants initiated the ―Easy Way Back‖ program,
                                                                 28


                                                                                                                          8
                                                                         Case 4:09-cv-03798-SBA Document 583 Filed 11/20/12 Page 9 of 19




                                                                  1   which allows opt-out Class Members until the end of the year to immediately re-enroll in managed
                                                                  2   care CBAS without having to undergo an eligibility assessment. (Id.)
                                                                  3          Further, nothing in the Agreement necessarily prevents center closures; rather, the
                                                                  4   Agreement provides Defendants flexibility in assuring eligible Class Members receive CBAS. In
                                                                  5   their Opposition to the Motion, Defendants detail the procedures involved and outcome obtained in
                                                                  6   transitioning CBAS members from a closing center. Southwest Adult Day Services, the only CBAS
                                                                  7   center for Sonoma County, decided to cease operations and close as a CBAS center in mid-August
                                                                  8   2012. (Dkt. No. 532, 6.) Working with the center‘s staff, Defendants state that they accomplished the
                                                                  9   transition of the 25 members as follows:
                                                                 10
                                                                             •       Nine members were able to receive services at another CBAS center, where the
                                                                 11                  plan arranged for the transportation to this other center.
                                                                 12
                                                                             •       Thirteen members receive a variety of unbundled services, as specifically
                               Northern District of California
United States District Court




                                                                 13                  permitted by the settlement agreement, through the plan. The various unbundled
                                                                                     services include home physical therapy, occupational therapy, respite therapy,
                                                                 14                  and services through the Plans Home Visiting Program.
                                                                 15
                                                                             •       One member was disenrolled from the CBAS center even before closure due to
                                                                 16                  her worsening medical condition. The decision to disenroll from the center was a
                                                                                     mutual one among the family, the center, and the plan. The member was then
                                                                 17                  provided complex case management services and was found to not be at risk for
                                                                 18                  a skilled nursing facility at that time.

                                                                 19          •       One member was provided necessary services through a Regional Center.
                                                                 20          •       At the time of the closure, one member‘s precise arrangements were still being
                                                                 21                  arranged by the plan, in consultation with family members.

                                                                 22   (Id. at 7.) Plaintiffs do not disagree with this account, but simply state that it ―only confirms the need
                                                                 23   for careful planning and sufficient lead time to protect the health and safety of displaced Class
                                                                 24   Members.‖ (Dkt. No. 555, 14.) Defendants are not in breach, however, merely because more Class
                                                                 25   Members have opted-out than the parties expected and therefore CBAS centers may be experiencing
                                                                 26   anxiety about their financial viability. The parties could have structured the Agreement such that if
                                                                 27   more than a certain number of Class Members opted-out, Defendants would keep them enrolled in
                                                                 28   fee-for-service Medi-Cal; however, that was not part of the bargain. Instead, the parties agreed that


                                                                                                                           9
                                                                           Case 4:09-cv-03798-SBA Document 583 Filed 11/20/12 Page 10 of 19




                                                                  1   Defendants would use due diligence to ensure sufficient access and monitor the capacity situation.
                                                                  2   They have done so.
                                                                  3           Accordingly, the undersigned recommends that the Court find that Defendants‘ response to
                                                                  4   the opt-out issue has not violated the Agreement.
                                                                  5   C.      Whether the Delay in Hearings Violates the Agreement
                                                                  6           Plaintiffs next assert that of the approximately 2,000 Class Members who requested a fair
                                                                  7   hearing following a determination of ineligibility (the majority of the requests being made in
                                                                  8   February and March 2012), 1,000 Class Members have not yet received their hearing or Defendants‘
                                                                  9   decision regarding their appeal.10 (Dkt. No. 555, 8.) Plaintiffs contend that this delay violates state
                                                                 10   and federal law, which require a hearing decision within 90 days of a request for a hearing. (Id.; Dkt.
                                                                 11   No. 522, 22). These delays create anxiety and health risks for Class Members, and place financial
                                                                 12   strain on CBAS providers, which, in some cases, are continuing to provide uncompensated services
                               Northern District of California
United States District Court




                                                                 13   to Class Members awaiting a determination. (Id. at 10.) As a remedy, Plaintiffs request that the Court
                                                                 14
                                                                 15           10
                                                                                 At the hearing, the Court requested that Defendants provide the Court with updated
                                                                 16   figures reflecting the number of Class Members awaiting a hearing and the number of written
                                                                      decisions still pending. Defendants submitted the Supplemental Declaration of Jane Ogle, dated
                                                                 17   November 13, 2012, which lists several data points collected by Defendants. (See Dkt. No. 580.)
                                                                      From what the Court can best gather, it appears that there have been 2,552 fair hearing requests as
                                                                 18   of November 9, 2012, 269 of which were not ripe for review. (Id. at ¶ 4.) Of the remaining 2,283,
                                                                 19   1,237 hearings have been conducted, 698 hearing requests were withdrawn, and 81 applicants did
                                                                      not appear at the hearing. (Id.) This leaves 267 hearings waiting to be scheduled and/or conducted.
                                                                 20   Defendants state that they are ―on track to have all of the fair hearing requests received as of early
                                                                      September heard by December 1, 2012, assuming that there is not a large number of requests for
                                                                 21
                                                                      postponements.‖ (Id. at ¶ 5.)
                                                                 22           Regarding outstanding hearing decisions, Defendants represent that of the 1,237 hearings
                                                                      conducted, 517 written decisions have been issued. (Id. at ¶ 4.) Subtracting the 81 applicants who
                                                                 23   did not attend their hearing, 639 decisions remain to be issued. Defendants state that ―DHCS
                                                                      anticipates being able to issue Final Decisions for all cases heard by December 1st, 2012, for
                                                                 24
                                                                      publication by DSS within the first two weeks of December, 2012.‖ (Id. at ¶ 6.) Although Plaintiffs
                                                                 25   are skeptical that Defendants can accomplish their stated goals, Plaintiffs provide no salient reason
                                                                      why Defendants are not up to the task. In fact, Plaintiffs note in their supplemental briefing that the
                                                                 26   most recent figures show that as of November 15, 550 written decisions have been issued. (See Dkt.
                                                                      No. 582, 2.) That likely means Defendants issued 33 written decisions in the span of two days.
                                                                 27
                                                                      Especially given that written decisions will not likely need to be issued in every remaining case—
                                                                 28   because applicants do not appear or because they withdraw their request—the Court does not find
                                                                      that Defendants are incapable of meeting their stated goals.

                                                                                                                          10
                                                                        Case 4:09-cv-03798-SBA Document 583 Filed 11/20/12 Page 11 of 19




                                                                  1   order CBAS for all Class Members with decisions pending over 90 days ―until the time of final
                                                                  2   determination.‖ (Id.)
                                                                  3          While the delays no doubt cause hardships, Plaintiffs have not shown how Defendants‘
                                                                  4   actions have violated any provision of the Agreement. Plaintiffs‘ Motion cites to Section XV.A of
                                                                  5   the Agreement, but that section merely concerns the ―Notice Plan‖ devised by the parties and says
                                                                  6   nothing about the timing of hearings. In their Notice of Motion to Enforce Stipulated Judgment and
                                                                  7   in their supplemental briefing filed after the hearing, Plaintiffs additionally cite to Section XIV,
                                                                  8   entitled ―Due Process/Appeals,‖ which provides in relevant part, ―Class members shall receive those
                                                                  9   notices of adverse actions and opportunity for hearings and to file appeals and grievances they are
                                                                 10   entitled to under federal and state law.‖ (Dkt. No. 438, Ex. A, Sec. XIV.A.) However, nothing in
                                                                 11   Section XIV provides for a violation of the settlement if the 90-day requirement is violated.
                                                                 12          While federal and state law may require this 90-day timeframe, this Court‘s jurisdiction does
                               Northern District of California
United States District Court




                                                                 13   not extend beyond enforcing the Agreement. Indeed, Section XXI specifically provides that non-
                                                                 14   class based remedies exist for, inter alia, ―due process grievance and hearing procedures, available
                                                                 15   to individual plaintiffs and Class Members for resolution of their individual disputes regarding
                                                                 16   eligibility and/for [sic] appropriateness of services and benefits based on need.‖ (Dkt. No. 438, Ex.
                                                                 17   A, Sec. XXI.B (emphasis added).) Just as Class Members must appeal adverse eligibility
                                                                 18   determinations through the appeals process and not the Court, Class Members must present
                                                                 19   individual due process issues, such as alleged violations of the 90-day rule, through the
                                                                 20   administrative and judicial review procedures already established under state and federal law.
                                                                 21          In any event, it is undisputed that, at the direction of the Chief Administrative Law Judge at
                                                                 22   DHCS, the parties agreed in late-April 2012 to schedule 125 attorney-represented ―test cases‖ that
                                                                 23   were designed to iron out legal issues that were expected to recur throughout the hearing process.
                                                                 24   (Dkt. No. 532, 8; Dkt. No. 555, 9.) The test cases began at the end of May 2012 and lasted until the
                                                                 25   end of August 2012, though some non-test cases may have been heard prior to the completion of all
                                                                 26   the test cases. (Id.) As noted above, Defendants have indicated that all of the hearing requests
                                                                 27   received as of early September will be heard by the beginning of December, assuming that there is
                                                                 28   not a large number of postponements. (Dkt. No. 580, Ogle Suppl. Decl. ¶ 5.)


                                                                                                                          11
                                                                           Case 4:09-cv-03798-SBA Document 583 Filed 11/20/12 Page 12 of 19




                                                                  1           While the parties spend considerable effort in their briefs attempting to assign blame for
                                                                  2   delays at various stages in this hearing process, it appears futile to attempt to parse out which side is
                                                                  3   responsible for the delay of each of the hundreds of hearings. Delays are not a welcome part of the
                                                                  4   process—particularly for Class Members—but the parties‘ submissions to the Court show that both
                                                                  5   sides have worked, and continue to work, diligently and in good faith in creating and executing a
                                                                  6   system for hearings that is efficient and fair.
                                                                  7           The undersigned therefore recommends that the Court find that the alleged delays in hearings
                                                                  8   do not constitute a violation of the Agreement.
                                                                  9   D.      Whether Defendants Violated the Settlement by Administering Quality Assurance
                                                                              Reviews
                                                                 10
                                                                 11           Plaintiffs next contend that Defendants‘ process of reviewing all eligibility determinations
                                                                 12   made by DHCS assessors conducting face-to-face assessments, a process known as Quality
                               Northern District of California
United States District Court




                                                                 13   Assurance (―QA‖) review, violates the Agreement. (Dkt. No. 522, 18-20.) Their argument rests on
                                                                 14   their belief that the Agreement allows for administrative review only of determinations of
                                                                 15   ineligibility by the face-to-face assessor—not determinations of eligibility. Rather, ―[f]or Class
                                                                 16   Members found eligible at a face-to-face assessment, the Settlement provided that they were to
                                                                 17   transition to CBAS without interruption and at their current level of service.‖ (Dkt. No. 522, 18
                                                                 18   (citing Dkt. No. 438, Ex. A, XI.B.3).) Plaintiffs represent that the QA review process has affected
                                                                 19   500-600 Class Members, and request that this Court immediately restore those Class Members‘
                                                                 20   CBAS benefits. (Id.; Dkt. No. 555, 13.)
                                                                 21           Defendants do not address whether the Agreement forbids administrative review of initial
                                                                 22   eligibility determinations;11 instead, Defendants contend that they made it clear during the
                                                                 23   development of the CBAS Eligibility Assessment Tool (CEDT) that there would be ―multiple levels
                                                                 24   of review‖ to verify ―that its nursing staff had followed the correct procedures and had accurately
                                                                 25
                                                                 26           11
                                                                                 Although Defendants‘ Opposition is silent on their interpretation of the Agreement, the
                                                                      parties note that in administrative hearings challenging a denial of CBAS, DHCS has taken the
                                                                 27
                                                                      position that the Agreement does not prevent review of an assessor‘s opinion following a face-to-
                                                                 28   face assessment—even when the assessor concludes the participant is eligible. (See Dkt. No. 522,
                                                                      19; Dkt. No. 532, 16.)

                                                                                                                          12
                                                                        Case 4:09-cv-03798-SBA Document 583 Filed 11/20/12 Page 13 of 19




                                                                  1   assessed each participant for CBAS eligibility.‖ (Dkt. No. 532, 14 (citing King-Broomfield Decl., ¶
                                                                  2   6).) Defendants also contend that they sent the final version of the CEDT—which includes separate
                                                                  3   signature lines for the Assessor, QA Reviewer, and the 2nd Level Reviewer—to Plaintiffs‘ counsel
                                                                  4   on December 15, 2011, before face-to-face assessments commenced, and Plaintiffs‘ counsel did not
                                                                  5   object to the CEDT in any way. (Id. at 14-15.) Defendants also assert that earlier versions of the
                                                                  6   CEDT included a signature line not just for the assessor, but also for ―NE III/QA Reviewer.‖ (Id. at
                                                                  7   15 n.3 (citing Puckett Decl., Exs. A & B).)
                                                                  8          Nothing in the Agreement necessarily prohibits Defendants from engaging in quality
                                                                  9   assurance oversight of an assessor‘s initial favorable eligibility determination. Plaintiffs‘ argument to
                                                                 10   the contrary—that Class Members ―found eligible at a face-to-face assessment‖ automatically
                                                                 11   transition uninterrupted into CBAS—is not supported by the Agreement. The relevant Agreement
                                                                 12   provisions do not require the assessor to make an eligibility determination ―at‖ the face-to-face
                               Northern District of California
United States District Court




                                                                 13   assessment, let alone require Defendants to abide by the assessor‘s judgment. The Agreement simply
                                                                 14   states that ―[a]fter a face-to-face assessment, presumptively eligible Class Members who are found
                                                                 15   eligible for CBAS shall [continue receiving CBAS],‖ and, regarding non-presumptively eligible
                                                                 16   Class Members, ―[i]f, after a face-to-face assessment, a Class Member is determined to be eligible
                                                                 17   for CBAS, the Class Member will transition from ADHC to CBAS . . . without interruption.‖ (Dkt.
                                                                 18   No. 438, Ex. A, Sec. XI.B.2.b & 3.a.) The Agreement does not make binding a single assessor‘s
                                                                 19   opinion regarding an eligibility determination.
                                                                 20          The existence of the QA process appears to derive from Section XVI.B of the Agreement,
                                                                 21   titled ―Quality Assurance.‖ That provision states:
                                                                 22          It is the responsibility of Defendants to provide quality assurance monitoring and oversight to
                                                                             all Class Members. In carrying out this obligation, the following general standards shall
                                                                 23          apply:
                                                                 24
                                                                                     1.      Quality assurance activities performed by Defendants shall include:
                                                                 25                          monitoring the quality and accuracy of the screening and assessment of
                                                                                             Class Members for CBAS services and actual provision of services to
                                                                 26
                                                                                             Class Members by providers, managed care plans and APS, and shall
                                                                 27                          include reviews of data, random sampling of files and in person reviews
                                                                                             with individuals whose files are examined.
                                                                 28


                                                                                                                           13
                                                                        Case 4:09-cv-03798-SBA Document 583 Filed 11/20/12 Page 14 of 19




                                                                                     2.      Quality assurance activities shall be focused on measuring whether
                                                                  1
                                                                                             services are provided to Class Members‘ [sic] in accordance with this
                                                                  2                          Agreement.

                                                                  3   (Dkt. No. 438, Ex. A, Sec. XVI.B (emphasis added).) This section does not exempt an assessor‘s
                                                                  4   initial determination of eligibility from quality assurance review; rather, it requires Defendants to
                                                                  5   actively monitor the quality and accuracy of the assessment process.
                                                                  6          Such oversight was explicitly discussed during the development of the CEDT tool. As
                                                                  7   Plaintiffs‘ own declarant, Diane Puckett, states:
                                                                  8                  We were told by DHCS that assessment teams would be headed by a DHCS
                                                                  9          nurse supervisor, which they (DHCS) felt to be a critical element of ensuring quality
                                                                             and consistency. Since DHCS planned to have over 200 nurses participating in CBAS
                                                                 10          assessments at ADHC centers, including both contract nurses and others from various
                                                                             divisions of DHCS, the nurse supervisor‘s role was to make sure that the procedures we
                                                                 11          developed were followed.
                                                                 12
                                                                                     The nurse supervisor‘s job with respect to reviewing findings made by the
                               Northern District of California
United States District Court




                                                                 13          assessors included ensuring that all qualifying factors for CBAS were considered. This
                                                                             point was discussed at length at several meetings, including the need to provide training
                                                                 14          to assist assessors with some of the specialized CBAS criteria, such as the two
                                                                 15          dementia-related criteria, since many nurses do not have a background in distinguishing
                                                                             levels of dementia.
                                                                 16
                                                                             ...
                                                                 17
                                                                 18                  The QA Review was different from the second level reviews, as DHCS
                                                                             explained, and was included because not every assessment team would be able to have
                                                                 19          a nurse supervisor with them in the field; therefore an additional step was needed
                                                                             wherein the supervisor in the DHCS office would ensure that the eligibility standards
                                                                 20          had been correctly applied and that participants had the benefit of a sufficient and
                                                                 21          comprehensive assessment to determine whether they are eligible for CBAS. In other
                                                                             words, we had every reason to believe that this process would comport with the
                                                                 22          Settlement, given that the Settlement requires Quality Assurance activities and contains
                                                                             specific requirements for such activities.
                                                                 23
                                                                 24   (Dkt. No. 516, Puckett Decl. ¶¶ 8-9, 13.) Ms. Puckett goes on to explain that she believed implicit in
                                                                 25   this agreement of quality assurance oversight was the expectation that favorable eligibility
                                                                 26   determinations made by nurses on site could not be overturned. (Id. at ¶¶ 13, 16.) The Court,
                                                                 27   however, sees no basis for this assumption in the language of the Agreement. It appears incongruous
                                                                 28   to acknowledge the need for close supervision of face-to-face assessors but at the same time insist


                                                                                                                          14
                                                                        Case 4:09-cv-03798-SBA Document 583 Filed 11/20/12 Page 15 of 19




                                                                  1   such supervision is forbidden if the assessor makes a determination, however inaccurate, in favor of
                                                                  2   a Class Member.
                                                                  3          What seems obvious from the parties‘ dispute over the QA review issue is that the parties did
                                                                  4   not finalize the QA review process and understand exactly what it would entail. That Plaintiffs now
                                                                  5   disagree with aspects of Defendants‘ QA review does not empower the Court to opine on the merits
                                                                  6   of Defendants‘ oversight procedures.12 The Agreement specifically provides that the parties are
                                                                  7   required to agree upon a tool and protocol for conducting these face-to-face assessments. (Dkt. No.
                                                                  8   438, Ex. A, Sec. XI.A.3.c.) Thus the details of QA reviews of face-to-face assessments are left to the
                                                                  9   parties to develop, not the Court. For this reason, the Court declines Plaintiffs‘ invitation to examine
                                                                 10   the QA review process and determine whether it comports with generally accepted practices for such
                                                                 11   reviews or undermines the purpose of a face-to-face assessment.13 (Dkt. No. 522, 21.) The Court is
                                                                 12   not in a position to instruct Defendants on what is a proper QA review.
                               Northern District of California
United States District Court




                                                                 13          Accordingly, the undersigned recommends that the Court find that Defendants‘ QA review
                                                                 14   process does not violate the Agreement.
                                                                 15
                                                                 16          12
                                                                                 Among other things, Plaintiffs argue that the QA review process is inappropriate because
                                                                 17   in some instances the signature on the QA Reviewer line appears to match the signature on the 2nd
                                                                      Level Reviewer line on the CEDT form. At the hearing, however, Defendants‘ counsel represented
                                                                 18   that Defendants‘ assessment policy does not allow the person who conducts the QA review to also
                                                                 19   conduct the second-level review for the same applicant. Further, no second-level review is
                                                                      conducted if the Class Member is found eligible.
                                                                              13
                                                                 20              The Court notes that, while it is not clear why the QA reviewer overturned the decision
                                                                      of the nurse assessor in each instance, it appears many QA reviews disagreed with the assessor‘s
                                                                 21
                                                                      evaluation of the eligibility criteria; specifically, QA reviewers have disagreed with an assessor‘s
                                                                 22   determination on the grounds that there was an ―insufficient showing of nursing interventions.‖
                                                                      (Dkt. No. 516, Puckett Decl. ¶ 17.) In other words, at the time of those QA reviews, Defendants
                                                                 23   took the position that such intervention was required to satisfy the Agreement‘s eligibility
                                                                      requirements for CBAS. However, following fair hearings on this issue, Defendants have since
                                                                 24
                                                                      published a ―Decision of the Director‖ making clear that the ―substantial nursing intervention‖
                                                                 25   standard is not required for eligibility under the Agreement. (Dkt. No. 508, Leiner Decl., Ex. B, 16-
                                                                      17.) Notwithstanding this apparently erroneous earlier interpretation of the eligibility requirements,
                                                                 26   nothing in the Agreement authorizes this Court to intervene in the eligibility determination process
                                                                      if Defendants‘ determinations, made in good faith, prove incorrect. Rather, the procedure
                                                                 27
                                                                      envisioned by the Agreement is exactly what is occurring now—fair hearings challenging
                                                                 28   individual eligibility determinations. While the Court understands why Plaintiffs are not satisfied
                                                                      with the process, the Agreement does not allow for Court intervention under these circumstances.

                                                                                                                         15
                                                                           Case 4:09-cv-03798-SBA Document 583 Filed 11/20/12 Page 16 of 19




                                                                  1   E.      Remaining Access and Capacity Issues
                                                                  2           Plaintiffs also allege that a combination of factors are placing increasing financial strain on
                                                                  3   CBAS centers state-wide, leading to the threat of center closures and lack of access and capacity for
                                                                  4   Class Members. (Dkt. No. 522, 12; Dkt. No. 555, 13-14.) While Plaintiffs‘ concerns about access
                                                                  5   and capacity relate to some of the issues discussed above, including delays in eligibility
                                                                  6   determinations, their criticisms also address high ineligibility rates and delays in payments to
                                                                  7   providers. (Id.)
                                                                  8           Plaintiffs‘ allegations regarding lack of access and capacity do not constitute a violation of
                                                                  9   the Agreement. As noted above, to the extent there is disagreement about an eligibility
                                                                 10   determination, the Agreement provides a process by which a Class Member may challenge that
                                                                 11   determination. Regarding the alleged delay in Treatment Authorization Requests (―TARs‖), which
                                                                 12   are required to receive payment for the provision of CBAS services, Plaintiffs appear to base their
                               Northern District of California
United States District Court




                                                                 13   argument on a state law requirement that the TARs be processed within 30 days. (Dkt. No. 522, 12)
                                                                 14   Plaintiffs, however, do not point to a provision in the Agreement requiring Defendants to process
                                                                 15   TARs timely. As discussed above, the Court did not retain jurisdiction to litigate claims of
                                                                 16   Defendants‘ failure to follow California law.
                                                                 17           Section XII.B, quoted above, does require Defendants to act diligently to ensure sufficient
                                                                 18   CBAS access and capacity for Class Members. The Court, however, is unpersuaded that Defendants
                                                                 19   have failed to meet the requirements of Section XII.B. When Plaintiffs brought their concerns
                                                                 20   regarding the TARs to Defendants in late July, Defendants sent Plaintiffs‘ counsel a letter informing
                                                                 21   them that the vast majority of TARS were being processed in a timely manner. (Dkt. No. 539, Press
                                                                 22   Decl., Ex. B.) Specifically, Defendants‘ data showed ―that nearly 97% of the approximately 7000
                                                                 23   TARs currently in our system are aged at 60 or fewer days. And 83.4% are aged at 30 or fewer
                                                                 24   days.‖ (Id.) Defendants‘ letter goes on to ask Plaintiffs‘ counsel to provide them information on
                                                                 25   specific TARs or specific centers that are having delay issues. (Id.) While the transition to a new
                                                                 26   process of administering TARs has proved difficult for at least some CBAS providers, one of
                                                                 27   Plaintiffs‘ own declarants, an administrator at a CBAS center in Sacramento, states that she spoke
                                                                 28   with Debra Ferreira from DHCS on September 7, 2012 and was assured ―that they would get all


                                                                                                                          16
                                                                           Case 4:09-cv-03798-SBA Document 583 Filed 11/20/12 Page 17 of 19




                                                                  1   TARs 30 days old and older [] processed within the next week.‖ (Dkt. No. 497, Canterbury Decl. ¶
                                                                  2   20.) Given this undisputed information and evidence of Defendants‘ diligent efforts to process
                                                                  3   TARs, the Court does not see how Defendants‘ actions can be construed as violating Section XII.B,
                                                                  4   or any other provision of the Agreement.
                                                                  5           The undersigned therefore recommends that the Court find that Defendants have not violated
                                                                  6   the Agreement by allegedly failing to address access and capacity issues.
                                                                  7   F.      Whether Defendants Have Violated the Purpose of the Agreement
                                                                  8           At the hearing, and through their supplemental briefing after the hearing, Plaintiffs
                                                                  9   presented an overarching argument that even if Defendants have not violated a particular provision
                                                                 10   of the Agreement, Defendants‘ actions and inactions have violated the purpose of the Agreement.
                                                                 11   (See Dkt. No. 579.) To identify the supposed purpose of the Agreement, Plaintiffs point to the two
                                                                 12   preliminary injunctions issued against Defendants prior to the settlement, as well as Section IV of
                               Northern District of California
United States District Court




                                                                 13   the Agreement, which states in part:
                                                                 14                   WHEREAS, the Parties enter into this Settlement Agreement (―Agreement‖) in
                                                                 15           mutual recognition and support of Class Members‘ rights to live in the most integrated
                                                                              setting appropriate and be free of unnecessary institutionalization;
                                                                 16
                                                                                     WHEREAS, it is the Parties‘ intent to provide a seamless transition to Settlement
                                                                 17
                                                                              Class Members from current ADHC services to other services for eligible individuals,
                                                                 18           including the new Community Based Adult Services (CBAS) program, and to provide case
                                                                              management and other services based on assessed need;
                                                                 19
                                                                 20   (Dkt. No. 438, Ex. A.) Plaintiffs further contend that the ―circumstances surrounding the formation
                                                                 21   of the consent order‖ may be taken in account when determining the Agreement‘s purpose and
                                                                 22   whether that purpose has been thwarted. (Dkt. No. 579, 2 (quoting United States v. ITT Cont’l
                                                                 23   Baking Co., 420 U.S. 223, 238 (1975).)
                                                                 24           The Supreme Court has held that ―because consent decrees are normally compromises in
                                                                 25   which the parties give up something they might have won in litigation and waive their rights to
                                                                 26   litigation, it is inappropriate to search for the ‗purpose‘ of a consent decree and construe it on that
                                                                 27   basis.‖ United States v. ITT Cont’l Baking Co., 420 U.S. 223, 235 (1975) (examining, inter alia,
                                                                 28   Armour, 402 U.S. 673). Accordingly, the Court declines to order certain remedies based on alleged


                                                                                                                          17
                                                                        Case 4:09-cv-03798-SBA Document 583 Filed 11/20/12 Page 18 of 19




                                                                  1   violations of the Agreement‘s supposed purpose. Even if the recitals in Section IV could be seen as
                                                                  2   an agreement to the purpose of the settlement, the undisputed facts show that Defendants have
                                                                  3   operated in good faith and executed their duties to the extent required by the Agreement.
                                                                  4   Additionally, as discussed above, the Court has not identified any ambiguity in the Agreement‘s
                                                                  5   provisions that could be aided by reference to the recitals in Section IV or to the circumstances
                                                                  6   surrounding the Agreement‘s formation.14
                                                                  7           Although Plaintiffs cite to several lower court cases in their supplemental briefing, none is
                                                                  8   helpful to Plaintiffs. In Equal Employment Opportunity Commission v. Local Union No. 3, the
                                                                  9   district court did not rule out its ability to issue orders based on the alleged failure of one party to
                                                                 10   comply with the supposed purpose of the consent decree where the decree included a provision
                                                                 11   granting the court jurisdiction to ―order any further relief which may be necessary or appropriate.‖
                                                                 12   416 F. Supp. 728, 731-32 (N.D. Cal. 1975). The court, however, specifically distinguished Armour
                               Northern District of California
United States District Court




                                                                 13   on the basis that a provision allowing the court to grant ―further relief‖ was not present in Armour.
                                                                 14   Id. at 732. As in Armour, such a provision is not present here, and thus Local Union does not apply.
                                                                 15           In Massachusetts Association for Retarded Citizens, Inc. v. King, the First Circuit cites ITT
                                                                 16   Cont’l Baking when noting that interpretation of a consent decree ―depends in part upon language,
                                                                 17   in part upon the circumstances surrounding their formation, and in part upon the basic purposes of
                                                                 18   the decree.‖ 668 F. 2d 602, 607 (1st Cir. 1981) (citing ITT Cont’l Baking, 420 U.S. 223). This stray
                                                                 19   sentence, however, does not mean that this Court can order the sought-after remedies even if it finds
                                                                 20   no violation based on the language of the Agreement. The Supreme Court in ITT Cont’l Baking,
                                                                 21   while holding that the agreement‘s purpose could be used to assign penalties after a violation of the
                                                                 22   agreement was found, affirmed the rule in Armour, forbidding use of the agreement‘s supposed
                                                                 23   purpose to determine whether the agreement was violated. 420 U.S. at 237. Finally, in N.Y. State
                                                                 24           14
                                                                                To the extent Plaintiffs imply that the Court should use the ―circumstance‖ of the two
                                                                 25   injunctions issued against Defendants in enforcing and interpreting the Agreement, the Court
                                                                      disagrees. Reliance on such information would presumably be based on the notion that the Court
                                                                 26   should take into account which side was apparently winning the litigation prior to settlement.
                                                                      However, as the Supreme Court has noted, settlement agreements represent compromises and the
                                                                 27
                                                                      parties have given up their right to proceed on the claims and determine their final merits. (See
                                                                 28   Armour, 402 U.S. at 681.) It is thus improper to treat the Agreement as Defendants‘ surrender rather
                                                                      than as a neutral document representing the parties‘ bargain.

                                                                                                                           18
                                                                        Case 4:09-cv-03798-SBA Document 583 Filed 11/20/12 Page 19 of 19




                                                                  1   Ass’n for Retarded Children v. Carey, the Second Circuit broadly interpreted a provision in a
                                                                  2   settlement agreement based on the circumstances surrounding formation of the agreement. 596 F.2d
                                                                  3   27, 37-38 (2d Cir. 1979). But such a particularized interpretation is unhelpful here with a different
                                                                  4   agreement and a different set of circumstances.15
                                                                  5          The undersigned recommends that the Court find that Defendants have not violated the
                                                                  6   Agreement by allegedly failing to act in accordance with the supposed purpose of the Agreement. 16
                                                                  7                                                 CONCLUSION
                                                                  8          For the reasons stated above, the undersigned RECOMMENDS that Plaintiffs‘ Motion be
                                                                  9   DENIED. Any party may file objections to this report and recommendation with the district court
                                                                 10   judge within ten days after being served with a copy. See 28 U.S.C. § 636(b)(1)(B); Fed. R. Civ. P.
                                                                 11   72(b); Civil L.R. 72–3. Failure to file objections within the specified time may waive the right to
                                                                 12   appeal the district court‘s ultimate Order.
                               Northern District of California
United States District Court




                                                                 13
                                                                 14   Dated: November 20, 2012
                                                                                                                            _________________________________
                                                                 15
                                                                                                                            JACQUELINE SCOTT CORLEY
                                                                 16                                                         United States Magistrate Judge

                                                                 17
                                                                 18
                                                                 19
                                                                 20
                                                                 21
                                                                 22
                                                                 23          15
                                                                                 To the extent Plaintiffs believe that changed conditions warrant relief from Defendants‘
                                                                      actions, the Court notes that Plaintiffs have not sought modification of the Agreement. On a motion
                                                                 24
                                                                      to enforce a settlement agreement, the Court cannot construe the agreement such that the
                                                                 25   construction modifies the agreement. See Hughes v. United States, 342 U.S. 353, 357-58 (1952)
                                                                      (holding that while modification could be had after a proper hearing proving the need for such
                                                                 26   modification under applicable standards, such modification in the guise of construing a consent
                                                                      decree is inappropriate); see also United States v. Atl. Ref. Co., 360 U.S. 19, 23 (1959) (same).
                                                                 27           16
                                                                                 Because the undersigned does not find that Defendants are in violation of the Agreement,
                                                                 28   the undersigned also recommends that the Court decline Plaintiffs‘ request to appoint a Special
                                                                      Master.

                                                                                                                          19
